                             UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION


The Estate of Tony Allen Hoyt, Deceased,
by Kathy Sullivan, Personal Representative,             Case No:1:22-cv-1173

       Plaintiff,                                       Honorable

-vs-                                                    Circuit Court No: 22-227-NI

Brittani Rene Strong, Bryan Cook,
and the City of Three Rivers,

     Defendants.,
_________________________________________________________________________________________________________
 David K. Whipple (P36767)                           Michael S. Bogren (P34835)
 SKUPIN & LUCAS, PC                                  Charles L. Bogren (P82824)
 Attorneys for Plaintiff                             PLUNKETT COONEY
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 NOTICE OF REMOVAL OF CAUSE TO THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MICHIGAN


          TO:       United States District Court Judges of the Western District of Michigan
       NOW COMES defendant, City of Three Rivers, by and through its attorneys Plunkett

Cooney, and pursuant to 28 U.S.C. § 1441(a) and § 1446, file this Notice of Removal based on

the following:

       1.        On or about November 8, 2022, plaintiff filed an amended complaint, adding

the City of Three Rivers as a defendant and is now pending in the St. Joseph County Circuit

Court, State of Michigan, a certain civil action, assigned case number 22-227-NI in which The

Estate of Tony Allen Hoyt, deceased by Kathy Sullivan, Personal Representative is the

plaintiff; Brittani Rene Strong and Bryan Cook are named co-defendants; and City of Three

Rivers is a named defendant.

       2.        The action, as alleged in the Complaint, is a suit brought under the statutes and

Constitution of the United States and the statutes and Constitution of the State of Michigan.

Specifically, the plaintiff alleges a violation of 42 U.S.C. § 12101, denial of access to public

services due to disability.

       3.        The action filed by plaintiff is one which the District Courts of the United States

would have original jurisdiction under 28 U.S.C. § 1331 as a civil action arising under the

Constitution of the United States.

       4.        This Notice of Removal is timely filed within thirty days after the City of Three

Rivers was served with the Summons and Complaint, via certified mail.

       5.        Attached to this Notice of Removal is a copy of the Summons and Complaint

stating the causes of action and claims for relief by the plaintiff against the defendants.

       6.        A written notice of this Notice of Removal has been given to all parties as

required by law and a Proof of Service is attached.




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        7.       A written notice of this Notice of Removal has been filed with the Clerk of the

St. Joseph County Circuit Court, State of Michigan as required by law.

        WHEREFORE, the defendants request they be allowed to affect removal of this matter

from the St. Joseph County Circuit Court, State of Michigan, to the United States District Court

for the Western District of Michigan.

                                             Respectfully submitted,

DATED: December 9, 2022                      PLUNKETT COONEY

                                             BY:__/s/ Michael S. Bogren_____________________
                                             Michael S. Bogren (P34835)
                                             Attorney for Defendant City of Three Rivers



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